
82 So.3d 194 (2012)
Nathan COLLETT, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-6187.
District Court of Appeal of Florida, First District.
March 14, 2012.
Nathan Collett, pro se, Petitioner.
Pamela Jo Bondi, Attorney General, and Brooke Poland, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
Petitioner is granted a belated appeal of the June 30, 2011, judgment and sentence in Duval County Circuit Court case number 16-2010-CF-005407-AXXX-MA. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(6)(D). If petitioner qualifies for appointed counsel, the trial court shall appoint counsel to represent petitioner on appeal.
PETITION GRANTED.
DAVIS, CLARK, and ROWE, JJ., concur.
